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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 NEIBERGER, et al.,

         Plaintiffs,
                v.                                           No. 16-cv-2193-EGS-ZMF
 ISLAMIC REPUBLIC OF IRAN,

         Defendant.


                                REPORT AND RECOMMENDATION

       From 2006 to 2009, a series of terrorist attacks in Iraq killed or severely injured U.S.

military servicemembers and civilians. The following ten U.S. military servicemembers and

civilians were victims in the attacks: Patrick Hanley, Samuel Montalbano, and Stephen Evans—

who were injured in the attacks and are themselves plaintiffs in this case along with family

members; Christopher Neiberger and Joshua Reeves—who died in the attacks and whose estates

and family members are represented here; and Rod Richardson, Blake Stephens, Steven Davis,

Steven Farley, and Raul Moncada—who died in the attacks and whose family members are

plaintiffs. These attack victims, their estates, and their family members (collectively “Plaintiffs”)

bring this action seeking compensation for their economic and psychological injuries from the

foreign sovereign defendant, the Islamic Republic of Iran, under the terrorism exception to the

Foreign Sovereign Immunities Act (“FSIA”). See 28 U.S.C. § 1605A. Central to this case is the

Plaintiffs’ argument that each of the ten attacks was a consequence of Iran’s proxy war against the

United States in Iraq.

       After Defendant failed to appear, the Clerk of Court entered default. See Clerk’s Entry of

Default, ECF Nos. 21, 66. Plaintiffs then moved for default judgment as to liability and damages.


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See Mot. for Default J., ECF No. 77. Judge Sullivan subsequently referred this case to the

undersigned for full case management including the preparation of this report and

recommendation. See Min. Order (Oct. 5, 2021). For the reasons stated below, the Court

recommends GRANTING Plaintiffs’ Motion for Default Judgment as to liability and GRANTING

IN PART and DENYING IN PART Plaintiffs’ Motion as to damages in accordance with the

findings herein.

I.     LEGAL STANDARD

       District courts may in their discretion enter a default judgment upon a party’s motion when

the opposing party fails to appear. See Fed. R. Civ. P. 55(b)(2); W.A. v. Islamic Republic of Iran,

427 F. Supp. 3d 117, 124 (D.D.C. 2019). To obtain a default judgment, plaintiffs must establish

their claims “by evidence satisfactory to the court.” 28 U.S.C. § 1608(e). Thus, “when the

defendant State fails to appear and the plaintiff seeks a default judgment, the FSIA leaves it to the

court to determine precisely how much and what kinds of evidence the plaintiff must provide.”

Kim v. Democratic People’s Republic of Korea, 774 F.3d 1044, 1047 (D.C. Cir. 2014). A court

“may not unquestioningly accept a complaint’s unsupported allegations as true.” Moradi v.

Islamic Republic of Iran, 77 F. Supp. 3d 57, 64–65 (D.D.C. 2015). A court however lacks the

authority “to raise the FSIA terrorism exception’s statute of limitations on behalf of an entirely

absent defendant.” Maalouf v. Islamic Republic of Iran, 923 F.3d 1095, 1112 (D.C. Cir. 2019).

       “An evidentiary hearing is not required; a plaintiff may establish proof by affidavit,”

Moradi, 77 F. Supp. 3d at 65, “declarations,” Saberi v. Islamic Republic of Iran, 541 F. Supp. 3d

67, 77 (D.D.C. 2021), or “other written materials as [plaintiffs] can otherwise obtain,” Mwani v.

bin Laden, 417 F. 3d 1, 7 (D.C. Cir. 2005). “Indeed, cases in this Circuit and in others have

repeatedly sustained jurisdiction or liability or both under the terrorism exception to the FSIA . . .




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based solely upon expert testimony.” Owens v. Republic of Sudan, 864 F.3d 751, 788 (D.C. Cir.

2017), vacated and remanded sub nom. on other grounds Opati v. Republic of Sudan, 140 S. Ct.

1601 (2020). Furthermore, “[a] court may take judicial notice of related proceedings and records

in cases before the same court.” Est. of Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229,

263 (D.D.C. 2006) (quoting Salazar v. Islamic Republic of Iran, 370 F. Supp. 2d 105, 109 n.6

(D.D.C. 2005)).

       To enter a default judgment, “the Court must—at a minimum—satisfy itself that it has

subject matter jurisdiction over the claims and personal jurisdiction over the defendants.” Fritz v.

Islamic Republic of Iran, 320 F. Supp. 3d 48, 56 (D.D.C. 2018) (citing Jerez v. Republic of Cuba,

775 F.3d 419, 422 (D.C. Cir. 2014)). Generally, the FSIA grants “subject matter and personal

jurisdiction . . . over any claim against a foreign state as to which the state is not entitled to

immunity.” Hegna v. Islamic Revolutionary Guard Corps, 908 F. Supp. 2d 116, 118–19 (D.D.C.

2012) (quoting World Wide Minerals, Ltd. v. Republic of Kazakhstan, 296 F.3d 1154, 1159 n.5

(D.C. Cir. 2002)).

II.    ANALYSIS

       A.      Subject Matter Jurisdiction and Liability for § 1605A(c) Claims

       This action is brought under 28 U.S.C. § 1605A, the so-called “terrorism exception.” See

Fraenkel v. Islamic Republic of Iran, 892 F.3d 348, 352 (D.C. Cir. 2018). The terrorism exception

to the FSIA relinquishes a foreign state’s immunity and affords federal courts with subject matter

jurisdiction over suits when

               [(1)] money damages are sought against a foreign state [(2)] for
               personal injury or death [(3)] that was caused by [(4)] an act of
               torture, extrajudicial killing, aircraft sabotage, hostage taking, or the
               provision of material support or resources for such an act [(5)] if
               such act or provision of material support or resources is engaged in




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                by an official, employee, or agent of such foreign state while acting
                within the scope of his or her office, employment, or agency.

28 U.S.C. § 1605A(a)(1). In addition, the foreign state must have been designated as a state

sponsor of terrorism at the time of the attack and the claimant or victim must have been a “national

of the United States,” “member of the armed forces,” or federal employee at the time of the attack. 1

Id. § 1605A(a)(2)(A)(ii). “The Court must satisfy itself that an FSIA plaintiff has cleared each of

these hurdles, even if the defendant fails to appear.” Fritz, 320 F. Supp. 3d at 76.

        Most of these conditions are easily met. First, Plaintiffs seek money damages and

attorney’s fees. See Compl. § VII. Second, their claims seek recovery “for personal injury” or

“death.” Mot. for Default J. at 61–73. Third, the United States has designated Iran as a state

sponsor of terrorism since 1984. See U.S. Dep’t of State, State Sponsors of Terrorism, available

at https://www.state.gov/state-sponsors-of-terrorism/. Fourth, at the time each attack occurred, the

victims were U.S. nationals and members of the U.S. armed forces or of the U.S. government.

        Thus, the only substantial jurisdictional questions regard whether the injuries and deaths

were “caused by an act of . . . extrajudicial killing . . . or the provision of material support or

resources for such an act” by an “official, employee, or agent of” Iran. 28 U.S.C. § 1605A(a)(1).

The Court analyzes these issues in their component parts, starting with whether these attacks

resulted in extrajudicial killings.

                        Extrajudicial Killing

        An “extrajudicial killing” is defined by cross-reference to Section 3 of the Torture Victim

Protection Act (“TVPA”) as “a deliberated killing not authorized by a previous judgment


1
  Because these attacks did not “occur[] in the foreign state against which the claim has been
brought,” but rather took place in Iraq, the final requirement that “the claimant []afford[] the
foreign state a reasonable opportunity to arbitrate the claim in accordance with the accepted
international rules of arbitration,” does not apply here. 28 U.S.C. § 1605A(a)(2)(A)(iii).



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pronounced by a regularly constituted court.” Id. § 1605A(h)(7) (citing Pub. L. No. 102-256, §

3(a), 106 Stat. 73, 73 (1992)). As detailed below, Dr. Gartenstein-Ross 2 offers evidence that each

attack was carried out by a violent non-state actor, such as a terrorist organization. Thus, none of

these attacks were authorized by a previous judgment from a regularly constituted court. See

Schwartz v. Islamic Republic of Iran, No. 18-cv-1349, 2020 WL 7042842, at *12 (D.D.C. Nov.

30, 2020).

       “A ‘deliberated’ killing is simply one undertaken with careful consideration, not on a

sudden impulse.” Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 363 (D.D.C. 2020)

(quoting Owens v. Republic of Sudan, 174 F. Supp. 3d 242, 263 (D.D.C. 2016) (citations omitted)).

The sophistication of the attack and the prior planning required to carry it out—i.e., “with

intelligence gathering, by selecting the site; with logistics, by purchasing the [weapon]; [or]

operationally by training to commit the attack”—are indicative of deliberation. Schwartz, 2020

WL 7042842, at *12.

       In interpreting the FSIA, “courts resolve statutory ‘ambiguities flexibly and capaciously’

in light of the text, history, and remedial purpose of the statute to compensate those injured in

terrorist attacks.” Force, 464 F. Supp. 3d at 360 (quoting Van Beneden v. Al-Sanusi, 709 F.3d



2
  Many of the Court’s findings are derived from the testimony and expert report of Dr. Gartenstein-
Ross. Courts in this District have previously certified Dr. Gartenstein-Ross as: 1) an expert in the
areas of terrorism and jihadist groups, see Sotloff v. Syrian Arab Republic, 525 F. Supp. 3d 121,
133 (D.D.C. 2021); Doe v. Syrian Arab Republic, No. 18-cv-0066, 2020 WL 5422844, at *9 n.7
(D.D.C. Sept. 10, 2020); 2) an expert on “violent nonstate actors generally, ISIS’s evolution from
its predecessor organizations, and ISIS’s material supporters,” Sotloff, 525 F. Supp. 3d at 133; 3)
“an expert on [Qais al-Khazali’s Asa’ib Ahl al-Haq (“AAH”)] and Iranian support for terrorism in
Iraq,” see Fritz, 320 F. Supp. 3d at 58 n.2; and 4) “an expert in the evolution of the history of
terrorist organizations and their claims of responsibility for acts of terrorism,” Foley v. Syrian Arab
Republic, 249 F. Supp. 3d 186, 193 n.4 (D.D.C. 2017). Considering the requirements of Federal
Rule of Evidence 702, the Court has found Dr. Gartenstein-Ross qualified to offer the opinions
relied upon herein as an expert on Iranian support for violent non-state actors and terrorism in Iraq.
See Mot. for Default J. at 6 n.2 (listing qualifications).


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1165, 1167 & n.4 (D.C. Cir. 2013)). Consequently, the consensus among courts is that “material

support for an attack that extrajudicially killed someone other than the injured servicemember

represented in this case is sufficient for jurisdictional purposes.” Karcher v. Islamic Republic of

Iran, 396 F. Supp. 3d 12, 58 (D.D.C. 2019); see, e.g., Cohen v. Islamic Republic of Iran, 238 F.

Supp. 3d 71, 81 (D.D.C. 2017); Haim v. Islamic Republic of Iran, 784 F. Supp. 2d 1, 11 (D.D.C.

2011); Schertzman Cohen v. Islamic Republic of Iran, No. 17-cv-1214, 2019 WL 3037868, at *1

(D.D.C. July 11, 2019).

                      a.      Explosively Formed Penetrator (“EFP”) Attacks

       An EFP is a lethal improvised explosive device (“IED”) that consists of a pipe or tube

packed with explosives, a detonator, and a concave copper disk. See Mot. for Default J. at 64–65.

“Detonation of the EFP forces the inverted center of the disk outwards into a molten slug capable

of traveling 2,000 meters per second or more,” which “is sufficient to puncture an ‘up-armored’

Humvee’s rolled homogenous armor.” Karcher, 396 F. Supp. 3d at 26. EFPs account for more

than twenty percent of all U.S. combat deaths in the Iraqi theater. See Expert Report of Dr.

Gartenstein-Ross, at 47, ECF No. 73-6 [hereinafter Gartenstein Report].

       “[T]he thought and consideration required to conduct an EFP attack are hallmarks of

deliberation.” Roberts v. Islamic Republic of Iran, No. 20-cv-1227, 2022 WL 203540, at *13

(D.D.C. Jan. 24, 2022). The level of sophistication and expertise required to detonate EFPs “[i]s

beyond the capacity of individuals with basic training in IED construction.” Lee v. Islamic

Republic of Iran, 518 F. Supp. 3d 475, 484 (D.D.C. 2021).Indeed, the perpetrator of an EFP must

conceal the explosive device (often within a boulder, roadside curb, or debris), maintain remote

surveillance of the target, and detonate the explosive device at the moment the target approaches.

See id. at 484–85. “Planning an EFP’s location and constructing a means to trigger the device




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require forethought, and an EFP therefore cannot be detonated on ‘a sudden impulse.’” Lee, 518

F. Supp. 3d at 492 (quoting Salzman v. Islamic Republic of Iran, No. 17-cv-2475, 2019 WL

4673761, at *13 (D.D.C. Sept. 25, 2019)). This Court finds—and takes notice of previous

findings—that deploying an EFP is a “deliberated” attempt to kill someone, even when no fatalities

result. See, e.g., id. (“[C]ausing or attempting to cause death by detonating an EFP constitutes a

deliberated killing.”); Karcher, 396 F. Supp. 3d at 56 (“By virtue of this deadly weapon’s design,

its delivery to Shi’a militia proxies, and its effective deployment against U.S. military vehicles,

the Court finds that the intended extrajudicial killings were deliberate.”). Thus, each of the claims

arising out of the seven EFP attacks meets the “deliberated killing” element. See, e.g., Karcher,

396 F. Supp. 3d at 58.

                          b.    Non-EFP Attacks

          On June 24, 2008, an improvised IED planted at the District Advisory Council (“DAC”)

building in Sadr City killed U.S. State Department official Mr. Farley among several others. See

Mot. for Default J. at 42. At the time of the explosion, Mr. Farley was meeting with the DAC, a

group of local Iraqi religious and government leaders. See id. The IED “was pre-positioned in the

room, set low on the ground or under a couch,” and likely “concealed inside a package which

would not look out of place inside the room.” Id. at 72 (quoting Farley CENTCOM (Ex. 153) 3 at

11, 30, ECF No. 76-22). “The explosion happened just outside the room, near the Americans,”

who were standing by the door. Alissa J. Rubin and Mudhafer Al-Husaini, Baghdad Blast Kills

Four         Americans,        The      New       York       Times        (June      25,      2008)

https://www.nytimes.com/2008/06/25/world/middleeast/25iraq.html.          This was a prototypical

deliberated, extrajudicial killing. See, e.g., Bennett v. Islamic Republic of Iran, 507 F. Supp. 2d



3
    The exhibit number is in reference to the Plaintiffs’ Motion for Default Judgment.


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117, 124 (D.D.C. 2007) (concluding that a death “was caused by a willful and deliberate

extrajudicial killing because it was caused by a detonation of explosive material planted by

Muhammad Uda . . . and intentionally detonated by him on or around 1:00 p.m. on that date”).

        On July 4, 2007, a hand grenade killed U.S. Army Specialist (“SPC”) Davis while he was

conducting a patrol to escort civilian contractors. See Mot. for Default J. at 50–51. SPC Davis

was travelling in a five-vehicle convoy at the time. Id. A declassified military analysis concluded

that “[i]nsurgents waited to throw grenade at last vehicle then used car [sic] to get away.” Davis

AR 15-6 (Ex. 169) at 19, ECF No. 76-23. “[T]he antitank grenade penetrated above the driver’s

door, and continued to penetrate the gunner’s turret,” where SPC Davis was located. Id. at 4. SPC

Davis died from fatal shrapnel wounds to the head. See Mot. for Default J. at 51–53. That the

perpetrators waited until the convoy had passed and targeted the driver’s door of the last car

evinces the type of intentional planning of a deliberated, extrajudicial killing. See Schwartz, 2020

WL 7042842, at *12.

        The final attack at issue involves an episode of rocket fire that occurred during the Battle

of Sadr City. See David E. Johnson, M. Wade Markel & Brian Shannon, The 2008 Battle of Sadr

City        (Santa         Monica,          CA:         RAND            Corporation,         2011),

https://www.rand.org/content/dam/rand/pubs/occasional_papers/2011/RAND_OP335.pdf.               On

April 28, 2008, while clearing a block in Sadr City, Corporal (“CPL”) Samuel Montalbano

“became aware that someone in the unit’s vicinity was taking direct fire.” Montalbano Decl. (Ex.

55) ¶ 11, ECF 76-4.      CPL Montalbano jumped to avoid enemy rocket fire and suffered a

debilitating back injury. See Mot. for Default J. at 46. A report by the Department of Defense

later concluded that the building was attacked with five Improvised Rocket Assisted Mortars

(“IRAMs”), which have a range of 100 to 400 meters. See id. at 48. Holes from rocket fire were




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later found in the building from which CPL Montalbano jumped. See id. at 49. The latrines and

a wall on the northern side were “completely destroyed.” Id.

         Although CPL Montalbano was not killed, this attack still qualifies as an intentional

planning of a deliberated, extrajudicial killing. See Force, 464 F. Supp. 3d at 361. In Force, three

plaintiffs respectively survived a stabbing attack, a shooting, and a rocket attack. See id. The court

reasoned that “[c]ompensating the victims of such brutal attacks, which were designed to cause

the victims’ deaths, to inflict suffering, and to inspire terror, directly furthers the purpose of the

terrorism exception to the FSIA.” Id. Other courts have reached the same conclusion as to

shootings and rocket fire. See, e.g., Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C.

2017). Likewise, the terrorist group here was in the midst of a month-long battle with U.S. forces

in Sadr City and knew U.S. servicemembers would be stationed therein. See Erica Goode and

Michael R. Gordon, U.S. and Iraqis Battle Militias to End Attacks, The New York Times (Apr. 7,

2008),     available    at   https://www.nytimes.com/2008/04/07/world/middleeast/07iraq.html.

Targeting U.S. troops with rocket fire, which “completely destroyed” parts of the building from

which CPL Montalbano jumped, is the type of planned, intentional attack that constitutes an

extrajudicial killing. See Force, 464 F. Supp. 3d at 364 (finding rocket attack that was “part of

coordinated rocket campaign during a particularly active period of conflict” to be deliberate).

                       Provision of Material Support or Resources

         The FSIA adopts the definition of “material support or resources” found in 18 U.S.C.

§ 2339A. See 28 U.S.C. § 1605A(h)(3). As applied here, material support or resources consist of:

                any property, tangible or intangible, or service, including currency
                or monetary instruments or financial securities, financial services,
                lodging, training, expert advice or assistance, safehouses, false
                documentation or identification, communications equipment,
                facilities, weapons, lethal substances, explosives, personnel (1 or




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               more individuals who may be or include oneself), and
               transportation, except medicine or religious materials . . . .

Karcher, 396 F. Supp. 3d at 54 (quoting 18 U.S.C. § 2339A(b)(1)). “In order to complete the link

to Iran, the material support or resources must have been provided ‘by an official, employee, or

agent of such foreign state while acting within the scope of his or her office, employment, or

agency.’” Id. at 55 (quoting 28 U.S.C. § 1605A(a)(1)).

                       a.      Background

        Dr. Gartenstein-Ross detailed Iran’s use of violent non-state actors as proxy forces of the

Islamic Revolutionary Guard Corps (“IRGC”)—an Iranian military entity and designated terrorist

organization 4—and Iran’s funneling of financing, weapons, training, safe haven, and assistance to

Shia militia groups in Iraq, including Jaysh al-Mahdi (“JAM”), AAH, and other groups. See

Gartenstein Report at 42–60. Iran’s motives for doing so included “dissuading the U.S. from

invading Iran, weakening U.S. forces in Iraq, and allowing Iran to heavily influence Iraqi politics.”

Id. at 42.

        Iran’s cross-border operations were carried out by the IRGC and the Quds Force (or

“IRGC-QF”), an elite division “responsible for the IRGC’s extraterritorial covert and military

operations.” Id. at 18–19.

               Beginning in the early 1980s, IRGC shaped the development and
               military capabilities of Lebanese Hezbollah, a militant Shi’a
               political party that wanted to oust Israeli forces from Southern
               Lebanon. As the relationship between IRGC and Hezbollah grew,
               Hezbollah reciprocated by executing terrorist missions against
               Israeli and American targets at Iran’s request, offering Iran
               reasonable deniability after the fact.




4
  On April 15, 2019, the U.S. Secretary of State designated the IRGC as a Foreign Terrorist
Organization.    See U.S. Dep’t of State, Foreign Terrorist Organizations, available at
https://www.state.gov/foreign-terrorist-organizations/.


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Karcher, 396 F. Supp. 3d at 23 (citations and quotation marks omitted). Together, IRGC and

Hezbollah provided material support and resources to terrorist groups to carry out Iran’s military

campaigns. See Gartenstein Report at 20. Courts have recognized Iran’s support for terrorist

groups in Iraq through the IRGC, Quds Force, and Hezbollah:

               The IRGC is a military institution that operates separately from the
               ordinary Iranian military; instead of defending Iran’s borders, the
               IRGC is charged with preserving the ideals of the Islamic Republic,
               both in Iran and elsewhere. . . . Iran, through the Quds Force, sought
               to turn Shia militia extremists into a Hezbollah-like force to serve
               its interests and fight a proxy war against the Iraqi state and coalition
               forces in Iraq. This effort to use proxies in Iraq was part of a
               deliberate policy to inflict casualties on U.S. forces that was
               approved by the Supreme Leader of Iran and was executed very
               covertly by the Quds Force.

Fritz, 320 F. Supp. 3d at 58–59, 62 (quotation marks and citations omitted).

                       b.      Support for JAM and Special Groups 5

       JAM is a terrorist group that formed in the aftermath of the U.S. invasion of Iraq in 2003.

See Gartenstein Report at 30; Fritz, 320 F. Supp. 3d at 61–62. According to Dr. Gartenstein-Ross,

JAM was responsible for all attacks in this case, except for the July 4, 2007 attack that killed SPC

Steven Davis. See Gartenstein Report at 4–5.

       “Iran offered [JAM] financing and weapons training, and the Qods Force dispatched

Hezbollah operatives to help establish JAM and provide it with logistical assistance.” Lee, 518 F.

Supp 3d at 483 (quotation marks omitted). Out of JAM formed several “JAM Special Groups,”

which also received Iranian backing. Gartenstein Report at 33–34. One such JAM Special Group

was AAH, which continued to receive substantial Iranian support and resources. See id. at 31–32;



5
 The term “Specials Groups” refers to “a somewhat amorphous conglomeration of Iranian-backed
Shia militias” that splintered from JAM. Fritz, 320 F. Supp. 3d at 62. Like JAM, the Special
Groups received funding, training, and weapons from Hezbollah and the Quds Force. See Karcher,
396 F. Supp. 3d at 24.


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see also Karcher, 396 F. Supp. 3d at 25 (AAH “was able to maintain a fairly high-level offensive

tempo and operated as Iran’s direct terror proxy targeting U.S. personnel at the direction of

Hezbollah and the IRGC-QF”). “Iranian support—in the form of funding, weapons, and training—

was critical to the success of the Special Groups, which otherwise ‘would [have been] unable to

conduct their terrorist attacks in Iraq.’” Fritz, 320 F. Supp. 3d at 62 (quoting General David

Petraeus, then-Commander, Multinational Force–Iraq).

       In consideration of these past findings in Karcher and Fritz and the exhaustive report by

Dr. Gartenstein-Ross, this Court too finds that Iran was providing material support and resources

to terrorist groups through the Quds Forces and Hezbollah at the time of the attacks at issue.

See, e.g., Lee, 518 F. Supp. 3d at 480 (taking judicial notice of Karcher and Fritz pursuant to

Federal Rule of Evidence 201(b)); see Gartenstein Report at 42–60. First, Iran’s provision of

weapons to “Shia militias constituted perhaps Iran’s most lethal and most visible form of support.”

Gartenstein Report at 45–46. Courts have previously made these findings. See, e.g., Fritz, 320 F.

Supp. 3d at 63 (quotation marks omitted) (finding the Quds Forces provided Iraqi militants with

Iranian-produced advanced weapons, including rockets, sniper rifles, automatic weapons, mortars,

and EFPs); Karcher, 396 F. Supp. 3d at 25 (finding Iran supplied or bankrolled many types of

weapons used by Shi’a militia groups in Iraq). Second, Iran or its agents also provided support by

“operat[ing] a robust training program for Iraqi Shia militias inside Iran’s borders.” 6 Gartenstein




6
  In 2007, the State Department concluded that “[t]he Qods Force, in concert with Lebanese
Hizballah, provided training outside Iraq for Iraqi militants in the construction and use of
sophisticated IED technology and other advanced weaponry. These individuals then passed on this
training to additional militants inside Iraq, a ‘train-the-trainer’ program. In addition, the Qods
Force and Hizballah have also provided training inside Iraq.” Gartenstein Report at 50 (quoting
U.S. Department of State, Country Reports on Terrorism (2007), https://2009-
2017.state.gov/j/ct/rls/crt/2007/103711.htm).



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Report at 49; see also Fritz, 320 F. Supp. 3d at 63–64. Third, Iran or its agents offered safe haven

to Shia militia members, issuing special passports to Special Group leaders and junior members.

See Gartenstein Report at 54.      This not only safeguarded terrorists but also facilitated the

coordination between Iran and militia groups. Id. at 56–58.

         Finally, Iran supported JAM terrorists and Special Groups through funding. See id. at 54–

57; Karcher, 396 F. Supp. 3d at 24; Fritz, 320 F. Supp. 3d at 63; Lee, 2021 WL 325958, at *4. As

of 2007, “the Quds Force also supplie[d] the Special Groups with weapons and funding of

$750,000 to $3 million U.S. dollars a month.” Gartenstein Report at 50 (quoting Gen. Kevin

Bergner, press conference, July 2, 2007). “This funding comprised a significant portion of Iran’s

broader funding to myriad violent non-state actors across the Middle East, which likely exceeded

$300 million annually from 2006–2009.” Id. at 54. Courts have concluded that Iran also provided

funding to Hezbollah, which furthered Iran’s efforts to destabilize the region by supporting Shia

terrorists in Iraq. See, e.g., Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 88 (D.D.C.

2010) (finding that in 2008 alone, “Iran provided approximately $200 million in direct cash

assistance to Hezbollah”); Fritz, 320 F. Supp. 3d at 60 (“Iran played a central role in Hezbollah’s

development and growth” based on funding.).

                       c.      Support for al-Qaeda in Iraq (“AQI”)

         Though a predominately Shi’a country, Iran also provided material support and resources

to Sunni militant groups, including the Zarqawi organization, or AQI. 7 See Gartenstein Report at

§ XVI.




7
  The Zarqawi organization is a Sunni militant group that has undergone several name changes
since its emergence in the early 1990s. It was known as AQI during the years in question and is
currently known as the Islamic State (or ISIS). See Gartenstein Report at 74. Dr. Gartenstein-
Ross refers to this terrorist organization as both “Zarqawi” and “AQI” throughout his report.


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         Plaintiffs’ expert concluded that “Iran had contact with the Zarqawi organization, and was

willing to provide financial support, logistical assistance, weaponry, and safe haven to the Zarqawi

organization for its campaign of violence between 2003 and 2010.” Id. at 84. Iran provided safe

haven to Zarqawi and its leaders by “permit[ting] Zarqawi recruits to transit Iranian territory and

make use of safe houses in different parts of the country.” Id. at 85; see Mot. for Default J. at 98–

103.    Evidence further suggests that Iran coordinated to provide funding and weapons to

Zarqawi/AQI. See Gartenstein Report at 86–87. In December 2006, IRCG-QF leaders were found

with “weapons lists, documents pertaining to shipments of weapons into Iraq, organizational

charts, telephone records and maps, among other sensitive intelligence information,” suggesting

that “Iran [was] working with individuals affiliated with [AQI] and Ansar al-Sunna.” Id. at 86. In

2008, a Sunni terrorist reported in an interview that Iran was providing AQI with “money and

weapons, and facilitating the movement of its fighters across the Middle East and South Asia. The

apparent intent of this support was to ‘deter the United States, in order for [the U.S.] not to give

its entire attention to Iran.’” Id. at 87 (quoting “Kuwaiti Cleric Admits Sending Mujahedin to Iraq,

Afghanistan, Argues Iran Involved,” Al-Qabas, May 7, 2008).

         Evidence of a foreign sovereign’s material support of a terrorist organization may include

the “motive to foment unrest in a particular area where the group is operating.”             Est. of

Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2021 WL 6843587, at *8 (D.D.C. June 23,

2021) (citing W.A., 427 F. Supp. 3d at 136). According to Dr. Gartenstein-Ross, Iran’s support of

AQI was “essentially a product of pragmatic expediency.” Gartenstein Report at 87. In short,

their interests aligned. See id. Courts have recognized a similar alliance between Iran and al-

Qaeda:

                Both Iran and al Qaeda can be ruthlessly pragmatic, cutting deals
                with potential future adversaries to advance their causes in the short-



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               term. Members of the Shiite and Sunni sects—particularly at the
               leadership level—often work together on terrorist operations. The
               religious differences, to the extent they retain any vitality at the
               leadership level, are trumped by the leaders’ desire to confront and
               oppose common enemies, particularly the U.S. . . . .

In re Terrorist Attacks on September 11, 2001, No. 03-mdl-1570, 2011 WL 13244047, at *12

(S.D.N.Y. Dec. 22, 2011) (citations omitted); see also Flanagan v. Islamic Republic of Iran, 87 F.

Supp. 3d 93, 105–08 (D.D.C. 2015) (concluding that Iran provided financial support, training, and

safe passage to al-Qaeda); Maalouf v. Islamic Republic of Iran, 923 F.3d 1095, 1100 (D.C. Cir.

2019) (explaining that Iran was linked to bombings executed by al Qaeda).

       The above findings demonstrate that Iran provided material support and resources to AQI.

See Gartenstein Report at 94–95; cf. Flanagan, 87 F. Supp. 3d at 105–08 (concluding that Iran

materially supported AQI’s former affiliate, al-Qaeda, through financial support, training, and safe

passage).

                       d.     Scope of Office

       Finally, Iran provided its material support at the direction of Iranian officials or agents

acting within the scope of their “office, employment, or agency.” 28 U.S.C. § 1605A(a)(1); see,

e.g., Blais v. Islamic Republic of Iran, 459 F. Supp. 2d 40, 60–61 (D.D.C. 2006) (finding, for

purposes of punitive damages, that IRGC was a governmental entity, rather than commercial

agent). As determined in the above finding of facts, the IRGC and Quds Force were responsible

for cultivating proxies in other countries and did so with both the Lebanese Hezbollah and AAH.

“The Quds Force is part of the IRGC, which is, in turn, an arm of the Islamic Republic of Iran.

Those findings are sufficient to satisfy the scope of office requirement.” Fritz, 320 F. Supp. 3d at

85; see also Karcher, 396 F. Supp. 3d at 55 (concluding the same).




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                       Causation

       The final requirement for the Plaintiffs is to establish that Iran’s conduct was the proximate

cause of their personal injuries or deaths. See Fritz, 320 F. Supp. 3d at 85. “[T]wo similar but

distinct elements” are needed to establish proximate cause: (1) that “the defendant’s actions [were]

a ‘substantial factor’ in the sequence of events that led to the plaintiff’s injury,” and (2) that “the

plaintiff’s injury [was] ‘reasonably foreseeable or anticipated as a natural consequence’ of the

defendant’s conduct.” Owens, 864 F.3d at 794. “In assessing reasonable foreseeability, moreover,

the Court must consider ‘the broader context’ of Iran’s conduct.” Fritz, 320 F. Supp. 3d at 86

(quoting Owens, 864 F.3d at 797). “Even if [the defendant] did not intend that the victims sustain

the specific injuries at issue, the events that led to those injuries were a ‘reasonably foreseeable’

consequence of [the defendant]’s actions.” Id. In the context of a defendant’s provision of material

support or resources, courts interpret causation broadly:

               Plaintiffs have not offered evidence that either Iran or Syria’s
               support was tied to each of the attacks that caused their injuries. But
               such a “nexus” is not necessary because funds—and, in certain
               instances, arms and other support—are fungible, and the FSIA could
               hardly be interpreted to condition Plaintiffs’ recovery on [terrorists
               groups’] “careful bookkeeping.”

Force, 464 F. Supp. 3d at 368 (quoting Kilburn, 376 F.3d at 1130). A state sponsor of terrorism

“may not avoid liability [under FSIA ]for supporting known terrorist groups by professing

ignorance of their specific plans for attacks.” Owens, 864 F.3d at 799.

                       a.      EFP Attacks

       Plaintiffs have established the requisite level of causation as to all seven EFP attacks.

According to Dr. Gartenstein-Ross, “the best available evidence indicates that 1) Iranian-backed

Shia militias were the only anti-American insurgents in Iraq to use sophisticated EFPs and 2) Shia

militias required and obtained Iranian support to obtain or assemble these sophisticated EFPs.”



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Gartenstein Report at 46–49. Courts have adopted these findings, of which this Court will take

judicial notice. See, e.g., Karcher, 396 F. Supp. 3d at 30 (“identification of the weapon as an EFP

all but necessitates the inference that Iran was responsible.”); Lee, 518 F. Supp. 3d at 483. (“[O]ne

of Iran’s primary forms of material support to the Special Groups was financing, manufacturing

and deploying EFPs.”); Pennington v. Islamic Republic of Iran, No. 19-cv-796, 2021 WL 2592910

(D.D.C. June 24, 2021) (same). The Court similarly finds that the use of EFPs is directly traceable

to Iranian support. 8

        “EFPs were constantly retooled to overcome U.S. defenses that attempted to make EFPs

less deadly, indicating that EFPs were intentionally designed to inflict maximum harm on their

targets.” Lee, 518 F. Supp. 3d at 492.It follows that Plaintiffs’ fatal or severe injuries were a

reasonably foreseeable (and intended) consequence of Iran’s provision of EFPs and EFP training.

See id. at 494 (“It is clear from Iran's financial support and its provision of evolving and ever-more

lethal weaponry to insurgents in Iraq that Iran reasonably anticipated—and indeed, intended—that

its support would lead to the death and serious injury of U.S. soldiers.”). “[T]he Court concludes

that material support or resources to facilitate EFP attacks qualify as material support for attempted

extrajudicial killings. Those attempts bring Iran within the terrorist exception to foreign sovereign

immunity.” Karcher, 396 F. Supp. 3d at 58.

                        b.     Non-EFP Attacks by JAM Terrorists

        A declassified U.S. government assessment found that JAM members met in Sadr City on

June 23, 2008, to plan the next-day bombing of the DAC building that killed Mr. Farley. See

CENTRIXS Central (Ex. 157) at 1, ECF No. 76-22. U.S. military intelligence further found that



8
 Thus, even when AQI was present at an EFP attack, such as the attack in Salman Pak that killed
CPL Stephens, the use of an EFP indicates that Iran bears ultimate responsibility. See Expert
Report at 49, 64.


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“it is possible that [Special Groups] observed our routines for a weekly meeting or may have

learned that a U.S. State Department Official was supposed to visit the [DAC] on this day.” ECF

No. 153 at 30. Dr. Gartenstein-Ross likewise concluded that JAM was responsible for the attack,

noting that Sadr City was a JAM and Special Groups stronghold at the time of the attack. See

Gartenstein Report at 70–72; Kimberly Kagan et al., Institute for the Study of War, Iraq Situation

Report                  19–20                   (February                   7,                  2008),

https://www.understandingwar.org/sites/default/files/reports/Iraq%20Situation%20Report.pdf.

         During the April 28, 2008, rocket fire attack that targeted CPL Montalbano, 9 U.S. and JAM

fighters were embroiled in a months-long battle. CPL Montalbano recalled that “during that time

in Sadr City, JAM forces made up the vast majority, if not all, of the combatant group that we

engaged with.” Montalbano Decl. ¶ 8. Dr. Gartenstein-Ross also concluded that JAM fighters

were likely responsible for this attack, noting again that Sadr City “was heavily Shia and the center

of JAM activities in Baghdad.” Gartenstein Report at 70.




9
  This attack is unique from the others in that neither deaths nor wounds were inflicted directly by
the attack weapons; rather, the injury occurred when CPL Montalbano jumped to retreat from
rocket fire. Such incidental injuries are a reasonably foreseeable consequence of launching rocket
fire into an occupied city and the type of “brutal attack[], which [was] designed to cause the
victims’ deaths, to inflict suffering, and to inspire terror.” Force, 464 F. Supp. 3d at 361. This
type of injury is not the type of “substantial expansion on the law as applied to date [that] threatens
to open the door to a broad array of claims that Congress never contemplated.” Id. Indeed, the
terrorism exception was not “sufficiently capacious” to include a missile attack that struck a
family’s home and caused them related emotional distress, but that attack did not kill or wound
anyone because none of the plaintiffs were home or even in the immediate vicinity when the
missile struck. Id. at 362–63. Yet that geographic separation is inapplicable here, where the victim
was present at the attack. See Mot. for Default J. at 48. Moreover, CPL Montalbano’s injuries are
directly traceable to the attack as opposed to general emotional distress related to property damage
while in a war zone. See Force, 464 F. Supp. 3d at 363. As such, Iran’s provision of material
support and resources to the JAM forces in Sadr City was the proximate cause of CPL
Montalbano’s injuries.


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       As explained above, there is satisfactory evidence that Iran provided material support and

resources in the form of weapons, training, safe haven, planning, and financing to JAM fighters.

See supra. The Court concludes that this Iranian support was a substantial factor in the bombing

of the DAC building in Sadr City and the firing of rockets into Sadr City. See Gartenstein Report

at 69–71; Fritz, 320 F. Supp. 3d at 86–87 (finding Iran’s provision of support and resources to

AAH was “not only a substantial factor . . . [but also] a necessary ingredient” in the abduction and

torture of a U.S. servicemember by the AAH).

       Plaintiffs’ injuries by JAM were a reasonably foreseeably consequence of Iran’s conduct,

especially considering the broader context of Iran’s “comprehensive campaign to deter the U.S.

from maintaining a presence in the Middle East by terrorizing and intimidating coalition forces.”

Fritz, 320 F. Supp. 3d at 86; c.f. Owens, 864 F.3d at 798 (“Sudan’s claimed ignorance of al-Qaeda’s

specific aim to bomb American embassies focuses too narrowly upon those events; Sudan could

not help but foresee that al Qaeda would attack American interests wherever it could find them.”).

       Plaintiffs have thus established that, by providing material support and resources to the

JAM forces, Iran caused the bombing of the DAC building that killed Mr. Farley and the rocket

fire that resulting in CPL Montalbano’s back injury.

                       c.     Non-EFP Attack by AQI

       On July 4, 2007, terrorists launched a grenade attack that killed SPC Davis. See Mot. for

Default J. at 50–52. The attack occurred at a time of United States’ “increased counter-AQI

operations in Baghdad.” Gartenstein Report at 98. Dr. Gartenstein-Ross concluded that AQI was

the most likely culprit because the attack occurred on the edge of Doura, a predominantly Sunni

neighborhood and AQI stronghold at the time. See id. at 89–94. According to Dr. Gartenstein-

Ross, this was the type of location for which Iran’s support of AQI gave Iran the ability to attack




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coalition forces “in [an] area[] largely inaccessible to Shia militias, and maintain a degree of

plausible deniability.” Id. at 87. SPC Davis’s platoon leader also attributed the attack to AQI

based on his knowledge of the local support structure. See id. at 90.

       “Importantly, Plaintiffs need not demonstrate that [Iran] specifically intended to cause the

[attack at issue]; they need only show proximate cause—that is, ‘some reasonable connection

between the act or omission of the defendant and the damage which the plaintiff has suffered.’”

Doe v. Syrian Arab Republic, No. 18-cv-0066, 2020 WL 5422844, at *11 (D.D.C. Sept. 10, 2020)

(quoting Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1128-29 (D.C. Cir.

2004); Prosser & Keeton on the Law of Torts 263 (5th ed. 1984)). “[S]ufficient evidence of

foreseeability include[s] backing the organization despite knowledge of their violent tactics and

encouragement of an escalation of terrorist behavior.” Doe, 2020 WL 5422844, at *12 (citing

Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 394 (D.D.C. 2015)).

       Iran provided material support and resources in the form of weapons, safe haven, and

financing to AQI. See supra. Thus, Iran’s support for AQI was a substantial factor in the sequence

of events that resulted in AQI’s killing of SPC Davis. See Owens, 864 F.3d at 797 (finding Sudan’s

past material support for al-Qaeda to be substantial factor in al-Qaeda’s embassy bombings,

despite multi-year separation between support and bombing and in spite of Sudan’s subsequent

acts in opposition to al-Qaeda). SPC Davis’s death was also a reasonably foreseeable consequence

of Iran’s conduct, particularly in view of the “broader context” of Iranian influence over Sunni

militant groups in Iraq. Cf. Fritz, 320 F. Supp. 3d at 86–87 (finding causation where Iran provided

material support to terrorist organization and had knowledge of the organization’s intent to carry

out attacks on coalition forces). Plaintiffs have thus established “some reasonable connection”

between Iran’s provision of material support and AQI’s killing of SPC Davis. Kilburn, 376 F.3d




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at 1128–29. Accordingly, Iran is not entitled to foreign sovereign immunity, and this Court

possesses subject matter jurisdiction over Plaintiffs’ claims pursuant to the terrorism exception.

       B.      Personal Jurisdiction

       Under the FSIA, a court has personal jurisdiction over a foreign state whenever the court

has subject matter jurisdiction and service has been properly made. See 28 U.S.C. §1330(b).

       Title 28 U.S.C. § 1608(a) sets out the four methods by which service may be made, in

ranked order. The first two methods could not be utilized here, given that (1) the parties lack a

special service arrangement, and (2) the U.S. and Iran are not signatories to a service convention.

See Pennington, 2021 WL 2592910, at *3 (citing 28 U.S.C. § 1608(a)(1)–(2)).                 Plaintiffs

appropriately attempted foreign mailing to Iran pursuant to § 1608(a)(3). See ECF No. 55.

However, the Clerk of Court subsequently concluded that service pursuant to § 1608(a)(3) was not

possible. See ECF No. 56. Finally, Plaintiffs sought service through diplomatic channels pursuant

to § 1608(a)(4). See ECF Nos. 57–59. On October 30, 2020, the State Department confirmed it

transmitted Plaintiffs’ documents to the Iranian Ministry of Foreign Affairs by way of the Embassy

of Switzerland. See ECF No. 63. Plaintiffs have thus effected proper service of process on Iran

pursuant to § 1608(a)(4), and this Court possesses personal jurisdiction over the Defendant. See

GSS Grp. Ltd v. Nat’l Port Auth., 680 F.3d 805, 811 (D.C. Cir. 2012).

       C.      Liability

                       Section 1605A(c)

       Under the FSIA, state sponsors of terrorism “shall be liable . . . for personal injury or death

caused by acts described in subsection (a)(1) of that foreign state, or of an official, employee, or

agent of that foreign state, for which the courts of the United States may maintain jurisdiction

under this section for money damages.” 28 U.S.C. § 1605A(c). “There is almost total ‘overlap




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between the elements of § 1605A(c)’s cause of action and the terrorism exception to foreign

sovereign immunity,’ and a plaintiff that offers proof sufficient to establish a waiver of sovereign

immunity under § 1605A(a) has also established entitlement to relief as a matter of law.” Salzman,

2019 WL 4673761, at *15 (quoting Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 205

(D.D.C. 2017)) (cleaned up). However, § 1605A(c) requires plaintiffs to individually demonstrate

that they “are themselves U.S. nationals, members of the armed services, or government

employees.” Force, 464 F. Supp. 3d at 369.

        “Although Section 1605A(c) provides a private right of action, it provides no guidance on

the substantive bases for liability to determine plaintiffs' entitlement to damages.” Braun v. Islamic

Republic of Iran, 228 F. Supp. 3d 64, 78 (D.D.C. 2017). Consequently, a district court may “rely

on well-established statements of common law[] found in state reporters, the Restatement of Torts,

and other respected treatises, in determining damages under § 1605A(c).” Fraenkel, 892 F.3d at

353 (citing Bettis v. Islamic Republic of Iran, 315 F.3d 325, 333 (D.C. Cir. 2003)). The Court

analyzes each type of remedy below.

                       California IIED

       The only plaintiff who is not a member of an eligible group under § 1605A(c) is Ms.

Obdulia Moncada—the mother of deceased Sergeant (“SGT”) Raul Moncada. See Mot. for

Default J. at 108; 28 U.S.C. § 1605A(c). Nonetheless, “plaintiffs ineligible to proceed under the

federal cause of action may continue to press their claims under state law.” Owens, 864 F.3d at

769. Thus, Ms. Moncada properly brings her claim here under California state law, which

recognizes a private right of action for intentional infliction of emotional distress (“IIED”) and

creates a private right of action for wrongful death. See California Code of Civil Procedure

§§ 377.60–377.62. The Court analyzes her claim below.




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       D.      Damages

       The FSIA allows recovery for “economic damages, solatium, pain and suffering, and

punitive damages.” 28 U.S.C. § 1605A(c). Other than punitive damages, each type of recovery

under § 1605A(c) is limited to a certain category of plaintiffs. First, damages for pain and suffering

are limited to injured U.S. servicemembers and, if death was not instantaneous, to the estates 10 of

deceased U.S. servicemembers. See Gates v. Syrian Arab Republic, 580 F. Supp. 2d 53, 73–74

(D.D.C. 2008). Second, economic damages are limited to U.S. servicemembers and their estates

for their economic losses. See Valore, 700 F. Supp. 2d at 83. Finally, solatium damages are limited

to the immediate family members of victims. 11 See id. at 85.

       To recover damages against Iran, Plaintiffs “must prove that the consequences of [Iran’s]

conduct w[as] reasonably certain (i.e., more likely than not) to occur, and must prove the amount

of the damages by a reasonable estimate.” Salazar, 370 F. Supp. 2d at 115–16 (quoting Hill v.

Republic of Iraq, 328 F.3d 680, 681 (D.C. Cir. 2003) (internal quotations omitted)).

                       Pain and suffering

                       a.      Claims by Attack Victims

       Three surviving victims—SPC Hanley, SPC Evans, and CPL Montalbano—seek damages

for pain and suffering. See Mot. for Default J. at 117–18. “Damages for surviving victims are



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   “The estate of a plaintiff who would have had standing to sue ‘is expressly covered by, and
entitled to bring claims under, Section 1605A(c).’” W.A., 427 F. Supp. 3d at 138 (quoting Braun,
228 F. Supp. 3d at 78–79). Two estates of deceased victims are plaintiffs in this case: 1) the estate
of SPC Neiberger, which is administered under Florida law; and 2) the estate of SPC Reeves,
which is administered under Kansas law. See id. Both states recognize survivorship actions. See
Fla. Stat. Ann. § 46.021; Kansas Stat. Ann. § 60-1901(a). Thus, both estates have established their
standing to sue on the victim’s behalf.
11
   “Solatium” is defined as “[c]ompensation; esp., damages allowed for hurt feelings or grief, as
distinguished from damages for physical injury.” Solatium, Black’s Law Dictionary (11th ed.
2019).


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determined based upon an assessment of such factors as ‘the severity of the pain immediately

following the injury, the length of hospitalization, and the extent of the impairment that will remain

with the victim for the rest of his or her life.’” Valore, 700 F. Supp. 2d at 83–84 (quoting Peterson

v. Islamic Republic of Iran (Peterson II), 515 F. Supp. 2d 25, 52 n.26 (D.D.C. 2007)). “In awarding

pain and suffering damages, the Court must take pains to ensure that individuals with similar

injuries receive similar awards.” Peterson II, 515 F. Supp. 2d at 54, abrogated on other grounds

by Mohammadi v. Islamic Republic of Iran, 782 F.3d 9 (D.C. Cir. 2015).

       This district has established a damages framework for pain and suffering suffered by attack

victims in FSIA cases. See Schooley v. Islamic Republic of Iran, No. 17-cv-1376, 2019 WL

2717888, at *74 (D.D.C. June 27, 2019). This framework establishes a baseline award of

$5 million, which may be adjusted either upward or downward depending on the circumstances.

See id. An upward departure may be warranted “in more severe instances of physical and

psychological pain, such as where victims suffered relatively more numerous and severe injuries,

were rendered quadriplegic, partially lost vision and hearing, or were mistaken for dead.” Valore,

700 F. Supp. 2d at 84. A downward departure may be warranted “where victims suffered only

minor shrapnel injuries or minor injury from small-arms fire.” Id. As to departure amounts, this

Court has previously awarded $7 million or more to plaintiffs who suffer relatively more severe

injuries and awarded an amount closer to $1.5 million to plaintiffs whose injuries are relatively

less severe. See Owens, 71 F. Supp. 3d at 259.

                             i.    Upward Departure

       On March 29, 2008, SPC Hanley was injured when his Humvee was struck by an EFP. See

Patrick Hanley Decl. (Ex. 47) ¶ 8, ECF No. 76-4. SPC Hanley was immediately transported to an

emergency medical unit, where a neurosurgeon removed part of his skull to relieve the pressure




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on his brain caused by swelling from blood pooling and bleeding in his brain. See id. ¶ 11. SPC

Hanley was then put in a medically induced coma for five weeks to relieve cranial pressure and

combat the infection in his brain. See id. ¶ 12. Once conscious, he suffered tremendous nausea

related to the opening of his skull and long-term exposure of his brain, resulting in his inability to

eat and dramatic weight loss from 210 to 128 pounds. See id. ¶ 15. After the installation of a

titanium plate over the opening of his skull, SPC Hanley worked to regain his cognitive and

physical functioning as he alternated between care facilities. See id. ¶¶ 16, 19. Aside from his

brain injuries, SPC Hanley’s left arm was amputated, and he experienced substantial and

permanent vision impairment. See id. ¶ 13. The length and severity of the treatment for SPC

Hanley’s brain injury and arm amputation, as well as the permanent impact on his health, warrants

a $2.5 million upward departure to $7.5 million total. See Valore, 700 F. Supp. 2d at 84 (granting

upward departure of $2.5 million to $7.5 million to serviceman who experienced “particularly

horrendous physical injuries, in both number and severity,” involving his regaining consciousness

after attack to find severe wounds through his chest, his leg split open, his clothes blown off, and

burns covering 90% of his body).

                             ii.   Departure Unwarranted

       On October 12, 2009, an array of EFPs injured SPC Evans. See Evans Decl. (Ex. 71) ¶¶ 5–

7, ECF No. 76–4. SPC Evans “sustained injuries to [his] face, throat, left arm, left hip, left leg,

and testicles.” Id. ¶ 9. SPC Evans underwent jaw surgery, treatment to his left eye socket, and an

experimental limb salvage operation to regrow parts of his leg bones, resulting in one leg being

slightly longer than the other. See id. ¶ 10. SPC Evans suffers ongoing back, ankle, foot, and knee

pain and requires surgery to remove dead/damaged ankle tissue every few years. See id. ¶¶ 10–

11. SPC Evans further suffered from temporary fertility issues related to the loss of his testicle




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and the formation of surrounding scar tissue. See id. ¶ 12. Although Evans continued to deal with

insomnia related to his injuries and to undergo regular surgeries, he has also started a family and

began pursuing a PhD in Neuroscience at Stanford University. See id. ¶¶ 13–14. Given the extent

of SPC Evan’s physical and mental injuries, the Court recommends awarding damages of $5

million dollars to SPC Evans for his pain and suffering. See, e.g., Peterson II, 515 F. Supp. 2d at

52 n.26. (granting the $5 million baseline award to victims who experienced compound fractures,

severe flesh wounds, injuries from shrapnel, and “lasting and severe psychological pain”).

                            iii.   Downward Departure

        On April 28, 2008, CPL Montalbano jumped from a rooftop to escape direct fire and

suffered a back injury on impact. See Mot. for Default J. at 46–49. CPL Montalbano did not

require hospitalization or seek immediate medical treatment but testified that he was unable to

walk immediately after the injury. See id. at 154–55. According to CPL Montalbano, this injury

led to a herniated disk, hearing loss, tinnitus, post-traumatic stress disorder (“PTSD”), depression,

and long-term issues with his balance. See id. at 155; Montalbano Decl. ¶ 20. The Court has an

obligation “to ensure that individuals with similar injuries receive similar awards.” Peterson II,

515 F. Supp. 2d at 54. Because CPL Montalbano’s back injury was dramatically less severe than

the other surviving victims’ injuries and did not require immediate medical treatment, the Court

recommends reducing the baseline award to $1.5 million. See, e.g., Valore, 700 F. Supp. 2d at 84–

85 (departing downward to 1.5 million where service member “lack[ed] . . . severe physical

injuries”).

                       b.      Claim by an Estate

        “For periods of pain and suffering of a less than a minute to a few hours after an attack but

prior to death, courts have awarded damages of $1,000,000.” Braun, 228 F. Supp. 3d at 83; see




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also Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 300 (D.D.C. 2003) (citing authorities

awarding $1,000,000 for pain and suffering lasting between thirty seconds and several hours).

However, “a court must refuse to award damages for pain and suffering if the plaintiff is unable to

prove that the decedent consciously experienced the time between an attack and his or her death.”

Roth, 78 F. Supp. 3d at 402.

       The estate for decedent SPC Reeves seeks damages for pain and suffering prior to his death.

See Mot. for Default J. at 137–38. On September 22, 2007, SPC Reeves was in the first Humvee

of a four-Humvee convoy during an operation when an EFP struck his vehicle. SeeDep’t of the

Army, USARCENT FOIA FA-18-0121 - Report of Investigation UP AR 15-6 (Ex. 111) at 15, 37

(2007), ECF No. 76-8. SPC Reeves suffered the loss of his left foot and shrapnel wounds to his

abdomen, lower pelvis, right forearm, and buttock. Id. at 9. Washington Post reporter David

Finkel was with SPC Reeves’s unit at the time and provided a first-hand account of the attack:

“when the EFP exploded . . . [Reeves] wasn’t breathing, his eyes weren’t moving, his left foot was

gone, his back side was ripped open, his face had turned gray, his stomach was filling with blood.”

See David Finkel, The Good Soldiers (Sarah Crichton Books, 1st ed. 2009). An interpreter that

had been in the second Humvee when the EFP went off later recalled that she “had run to the first

Humvee, had crawled inside until she was wedged next to Reeves, and had seen him pass out and

go white.” See id. About ten minutes after the attack, SPC Reeves was still alive, but recorded as

“unconscious and pulseless.” Mot. for Default J. at 25. Medics pronounced SPC Reeves dead one

hour and twenty-one minutes after the attack. See id.

       This evidence suggests that SPC Reeves was not killed instantaneously and was—even

momentarily—conscious from the time of the attack until the interpreter was able to run to his

vehicle and witness him lose consciousness. See Finkel, supra. The Court recommends awarding




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$1,000,000 in damages to the estate of SPC Reeves for his pain and suffering in the moments prior

to his loss of consciousness. See Braun, 228 F. Supp. 3d at 83 (awarding $1,000,000 to estate of

victim who “suffered being thrown into the air and an impact that caused her head to become

smashed and her to begin vomiting and that she survived for two hours after the [a]ttack, during

which time she was attended to by medical personnel”).

                       Economic Damages

       Plaintiffs who survived the attacks and the estates of deceased victims may seek economic

damages. See Owens, 71 F. Supp. 3d at 258; see Valore, 700 F. Supp. 2d at 82 (finding Iranian

government “liable for the economic damages caused to decedents’ estates”). Economic damages

include past and future lost wages, benefits and retirement pay, and other out-of-pocket expenses.

See Owens, 71 F. Supp. 3d at 258. A plaintiff must provide evidentiary support to obtain economic

damages. See Moradi, 77 F. Supp. 3d at 71. Traditionally, plaintiffs submit a forensic economist’s

expert report to establish economic losses. See, e.g., Roth, 78 F. Supp. 3d at 402; Fritz v. Islamic

Republic of Iran, 324 F. Supp. 3d 54, 59–60 (D.D.C. 2018); Valore, 700 F. Supp. 2d at 83. When

evaluating an expert’s report, the Court must consider the “reasonableness and foundation of the

assumptions relied upon by the expert.” Roth, 78 F. Supp. 3d at 402 (citing Reed v. Islamic

Republic of Iran, 845 F. Supp. 2d 204, 214 (D.D.C. 2012)).

       SPC Neiberger’s and SPC Reeves’s estates have submitted expert reports establishing their

economic losses prepared by Chad L. Staller, President and Senior Economist at the Center for

Forensic Economic Studies (“CFES”), and Stephen M. Dripps, Senior Economist and Statistician

at CFES. These expert reports calculate each decedent’s lost wages, benefits, and retirement pay.

See Neiberger Report, ECF No. 76-3; Reeves Report, ECF No. 76-3. This Court has previously

found similar calculations prepared by CFES in FSIA cases to be “reasonable,” “consistent with




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generally accepted practices,” and calculated using “appropriate assumptions based on reasonable

and well-documented sources.” Fritz, 324 F. Supp. 3d at 59–60; see also Roth, 78 F. Supp. 3d at

404–05 (accepting CFES report to award economic damages in FSIA case). The reports model

two scenarios; one computing loss until the end of the “statistical worklife” as determined by each

decedent’s age and level of education, and one computing loss until the later social security

retirement age. See Neiberger Report at 3; Reeves Report at 3. Given “[c]urrent trends indicating

that individuals are more likely to work beyond the average work life,” courts in this District have

previously opted for the social security retirement age because it yields a later retirement age. See,

e.g., Fritz v. Islamic Republic of Iran, No. 15-cv-456, 2018 WL 5046229, at *17 (D.D.C. Aug. 13,

2018), report and recommendation adopted by 324 F. Supp. 3d 54 (D.D.C. 2018). This Court

likewise recommends awarding an amount of economic damages based on social security

retirement age, resulting in economic damages to SPC Neiberger’s estate in the amount of

$1,343,726 and to SPC Reeves’s estate in the amount of $2,108,553.

       CPL Montalbano seeks $13,000 in economic damages stemming from his therapeutic

injection treatment. See Montalbano Decl. ¶ 24. CPL Montalbano’s insurance refused to pay for

this treatment due to its experimental nature. See id. This Court recommends denying CPL

Montalbano’s claim because he did not provide any evidentiary support for the amount identified

in his declaration. See Moradi, 77 F. Supp. 3d at 71 (declining to award economic damages where

plaintiff provided no evidentiary support outside of own declaration).

                       Solatium

       Plaintiffs are seeking IIED damages either under § 1605A(c) or California state law. Under

§ 1605A(c), a solatium claim is indistinguishable from an IIED claim. See Valore, 700 F. Supp.

2d at 83; Est. of Heiser v. Islamic Republic of Iran (Heiser II), 659 F. Supp. 2d 20, 27 n.4. (D.D.C.




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2009). A § 1605A(c) solatium claim is viable if: “(1) [plaintiffs] are members of a victim’s

immediate family,” and (2) “the defendant’s conduct is sufficiently outrageous and intended to

inflict severe emotional harm upon a person [who] is not present.” Rezaian v. Islamic Republic of

Iran, 422 F. Supp. 3d 164, 179 (D.D.C. 2019) (cleaned up) (citing Restatement (Second) of Torts

§ 46). Unlike traditional IIED claims, “[o]ne . . . need not be present at the time of a terrorist attack

upon a third person to recover [under § 1605A(c)] for severe emotional injuries suffered as a

result.” Valore, 700 F. Supp. 2d at 80. This exception is unique to acts of terrorism because “the

‘intent to create maximum emotional impact,’ particularly on third parties, is terrorism’s raison

d’etre.” Heiser II, 659 F. Supp. 2d at 27 (quoting Eisenfeld v. Islamic Republic of Iran, 172 F.

Supp. 2d 1, 9 (D.D.C. 2000)). Indeed, “[a]cts of terrorism are by their very definition extreme and

outrageous and intended to cause the highest degree of emotional distress.” Belkin v. Islamic

Republic of Iran, 667 F. Supp. 2d 8 (D.D.C. 2009) (citing Stethem v. Islamic Republic of Iran, 201

F. Supp. 2d 78, 89 (D.D.C. 2002)). As such, the extreme-and-outrageous-conduct prong is

satisfied. See id. Therefore, the only question for the Court concerns the familial relationship.

        “[T]he loss suffered” by family members of victims “is undeniably difficult to quantify.”

Heiser, 466 F. Supp. 2d at 269. Courts in this District have adopted the framework set forth in

Heiser as “an appropriate measure of damages for the family members of victims.” Peterson II,

515 F. Supp. 2d at 51; see, e.g., Valore, 700 F. Supp. 2d at 85 (applying the Heiser framework);

Brewer, 664 F. Supp. 2d at 57–58 (same); Heiser II, 659 F. Supp. 2d at 27 n.4 (same).

                That framework awarded valid claims brought by spouses, parents,
                and siblings of deceased servicemen $8 million, $5 million, and $2.5
                million each, respectively. Relatives of surviving servicemen
                received awards valued at half of the awards to family members of
                the deceased: $4 million for spouses, $2.5 million for parents, and
                $1.25 million for siblings.

Valore, 700 F. Supp. 2d at 85. “These numbers, however, are not set in stone.” Id.



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       Upward departures in solatium damages “are typically reserved for cases with aggravating

circumstances.” Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 108 (D.D.C. 2006).

A court may consider “evidence establishing an especially close relationship between the plaintiff

and decedent, particularly in comparison to the normal interactions to be expected given the

familial relationship; medical proof of severe pain, grief or suffering on behalf of the claimant;

and circumstances surrounding the terrorist attack which made the suffering particularly more

acute or agonizing.” Oveissi v. Islamic Republic of Iran, 768 F. Supp. 2d 16, 26–27 (D.D.C. 2011).

“Decisions to deviate from the starting points provided by the Heiser framework are committed to

the discretion of the particular court in each case . . . .” Id. at 26. “Such departures are usually

relatively small, absent ‘circumstances that appreciably worsen’ a claimant’s ‘pain and suffering,

such as cases involving torture or kidnapping’ of the party to whom extreme and outrageous

conduct was directed.” Valore, 700 F. Supp. 2d at 84–86 (quoting Greenbaum, 451 F. Supp. 2d

at 108) (departing solatium damages upward by 25 percent for siblings of victims under

aggravating circumstances).

       “Conversely, downward departures may be appropriate where the evidence suggests that

the relationship between the victim and his family members is attenuated or where a claimant fails

to ‘prove damages in the same manner and to the same extent as any other default winner.’”

DiBenedetto v. Islamic Republic of Iran, No. 16-cv-2429, 2020 WL 820877, at *3 (D.D.C. Feb.

19, 2020) (quoting Hill, 328 F.3d at 683) (internal citation omitted).

                       a.     No Immediate Family Relation

       “The ‘immediate family’ requirement is strictly construed in FSIA cases; . . . only spouses,

parents, siblings, and children are entitled to recover.” Roth, 78 F. Supp. 3d at 400. The statute

does not include nieces, nephews, aunts, uncles, non-adoptive stepparents, or non-adopted




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stepchildren. See Heiser II, 659 F. Supp. 2d at 28–29. “Courts must draw [this] line to avoid ‘such

an expansive and indefinite scope of liability.’” Borochov v. Islamic Republic of Iran, No. 19-cv-

2855, 2022 WL 656168, at *17 (D.D.C. Mar. 4, 2022) (quoting Davis v. Islamic Republic of Iran,

882 F. Supp. 2d 7, 15 (D.D.C. 2012)).

       Plaintiff Jessica Farley is the daughter-in-law of the deceased Mr. Farley. There is no

precedent to support treating a daughter-in-law as an immediate family member or evidence to

suggest that such designation is warranted here. See Heiser II, 659 F. Supp. 2d at 28–29. Although

Ms. Farley was close with her father-in-law, “[t]he mere existence of a ‘close relationship’ between

a claimant who is a non-immediate family member and the victim . . . falls ‘far short of what [an

IIED claim] requires.’” Valore, 700 F. Supp. 2d at 79 (quoting Bettis, 315 F.3d at 337). The Court

therefore recommends denying solatium damages to Ms. Farley.

                       b.     Upward Departures

       SPC Hanley was severely injured in an EFP attack, resulting in brain injury and the loss of

his arm. See Mot. for Default J. at 29. Katherine and Edward Hanley endured the “excruciating”

aftermath of SPC Hanley’s attack, during which they were not allowed to visit with or touch SPC

Hanley due to his brain infection. See Edward Hanley Decl. (Ex. 49) ¶ 6, ECF No. 76-4. The

family experienced prolonged distress during SPC Hanley’s treatment, when “Patrick could barely

sit up except to throw up . . . [and h]is weight fell from over 200 pounds []to 128 pounds.” Id. ¶

7. Cecelia Hanley was hospitalized overnight due to a stress-induced panic attack, which she had

never experienced before SPC Hanley’s attack. Cecelia Hanley Decl. (Ex. 53) ¶ 8. Further,

Edward and Katherine Hanley continue to “organize [their] lives around Patrick and his needs,

which can be demanding.” Id. ¶ 10. SPC Hanley’s parents “will receive upward departures based

on the extraordinary circumstances they endure, living with, and caring for, their injured service




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member [child].” Schooley, 2019 WL 2717888, at *78 (awarding additional sum of $1,500,000 in

solatium damages to parents who provide ongoing care to their injured service member children).

The Court therefore recommends awarding Edward and Katherine Hanley each a $1,500,000 (or

60%) upward departure in solatium damages to $4,000,000. See id. For the same reasons, the

Court further recommends awarding Cecelia Hanley a $750,000 (or 60%) upward departure in

solatium damages to $2,000,000. See id.

       Ms. Teresita Davis worked alongside her son as a medic in Iraq and, consequently, saw his

corpse first-hand at the morgue after his death. See Teresita Davis Decl. (Ex. 79) ¶ 9, ECF No.

76-3. Ms. Davis began seeing a counselor after SPC Davis’s death. See id. ¶ 11. After two years

of counseling, Ms. Davis attempted suicide. See id. This tragedy led to a 10-day hospitalization

and her diagnoses with PTSD and severe depression. See id. ¶ 14. Ms. Davis attempted to return

to work in Iraq as a medic but left after experiencing emotional distress at the sight of young men

with injuries like SPC Davis’s. See id. ¶ 10. Among SPC Davis’s five family members who bring

claims, “[Ms. Davis’s] emotional suffering stands out as particularly devastating.” Valore, 700 F.

Supp. 2d at 86 (awarding a 25% upward departure where a plaintiff “suffered several nervous

breakdowns, at least one of which required hospitalization”). Thus, the Court recommends a 25%

upward departure in solatium damages to $6,250,000 for Ms. Davis.

                       c.      Downward Departure

       Deborah Wilson, mother of CPL Montalbano, seeks elevated solatium damages of

$3,500,000 related to her son’s injury. “Solatium is awarded to compensate the ‘the mental

anguish, bereavement, and grief that those with a close personal relationship to a [victim]

experience as the result of the [victim]’s death [or injury].’” Valore, 700 F. Supp. 2d at 85 (quoting

Belkin, 667 F. Supp. 2d at 22). CPL Montalbano’s back injury was relatively less severe and of




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shorter duration than the injuries suffered by other victims in this case such that it did not require

medical treatment. See supra. Thus, Ms. Wilson has not “prove[n] damages [for loss of solatium]

in the same manner and to the same extent as any other default winner.” Hill, 328 F.3d at 683.

For the same reasons as CPL Montalbano’s 70% downward departure in damages for pain and

suffering, the Court recommends awarding Ms. Wilson solatium damages departed downward by

70% to $750,000. See Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 31 (D.D.C. 1998))

(“[T]he [solatium] calculation should be based upon the anticipated duration of the injury.”).

                       d.      Departures Unwarranted

       Each remaining plaintiff is an immediate family member of one of the victims and testified

to the strength of their individual relationship with the respective victim and the profound feelings

of loss brought on by their death. See Mot. for Default J. at 125–78. See id. For plaintiffs bringing

a claim under § 1605A, this Court “presume[s] that those in direct lineal relationships with victims

of terrorism suffer compensable mental anguish.” Roth, 78 F. Supp. 3d at 403 (citing Flatow, 999

F. Supp. at 30). Further, each sibling bringing a claim has satisfied the requirement to provide

“testimony proving a close emotional relationship.” Id. While these testimonials satisfy the

threshold for baseline damages, they do not include evidence of the type of “aggravating

circumstances that appreciably worsen the [claimant]’s pain and suffering.” Greenbaum, 451 F.

Supp. 2d at 108. “The Court’s awards are driven by a recognition that most—if not all—people

eligible for Heiser-type compensation have endured the unimaginable, and that fine distinctions in

awards based on outward manifestations of grief may unintentionally slight those whose grief is

no less real but is more internalized.” Selig v. Islamic Republic of Iran, 573 F. Supp. 3d 40, 75

(D.D.C. 2021). Accordingly, the Court recommends awarding solatium damages in conformity

with the Heiser framework for these remaining plaintiffs in accordance with Exhibit A.




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                       e.     California State Claim

       As noted above, Ms. Moncada is ineligible to bring her claim under § 1605A(c) and instead

brings a California state IIED claim. Under California law, the elements of IIED are: “(1) extreme

and outrageous conduct by the defendant with the intent to cause, or with reckless disregard of the

probability of causing, emotional distress; (2) the plaintiff suffering severe or extreme emotional

distress; and (3) the defendant’s conduct is the actual and proximate cause of the plaintiff’s

emotional distress.” Heiser, 466 F. Supp. 2d at 305 (citing Davidson v. City of Westminster, 649

P.2d 894, 901 (1982)). The plaintiff’s presence is “deemed unnecessary in situations where the

defendant is aware of the high probability that the defendant’s acts will cause a plaintiff severe

emotional distress.” Id. (citing Christensen v. Superior Ct., 820 P.2d 181, 203–04 (1992)). Thus—

as with § 1605A(c)—“in the case of a terrorist attack as this, the Court finds that the presence

element does not need to be proven in order to successfully bring a cause of action for [IIED] under

California law.” Id. Further, this Court has determined that providing material support for

terrorism is extreme and outrageous conduct under California law. See Bennett v. Islamic Republic

of Iran, 507 F. Supp. 2d 117, 129 (D.D.C. 2007). Therefore, this Court need only assess whether

Iran’s conduct caused Ms. Moncada severe emotional distress.

       The horrific EFP attack that killed SGT Moncada—precipitated by Iran’s material support

and resources—brought extreme emotional distress to Ms. Moncada as defined by California state

law. See, e.g., id. (granting California IIED claim to family member of daughter killed in terrorist

attack); see Mot. for Default J. at 34–38. Ms. Moncada “remembers screaming and crying the day

she received the news that her son had been killed” and “was overcome with so much mental

anguish that she wanted to throw herself from a mountain.” See Obdulia Moncada Decl. (Ex. 63)

¶ 6, ECF No. 76-4. The Court recommends awarding Ms. Moncada the Heiser baseline amount




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of $5,000,000 for the parent of a deceased service member. See Bennett, 507 F. Supp. at 129–30

(awarding Heiser framework damages pursuant to California IIED claim).

                      Prejudgment Interest

       Plaintiffs next seek prejudgment interest on their compensatory damages. See Mot. for

Default J. at 123–24. “Whether to award such interest is a question that rests within this Court’s

discretion, subject to equitable considerations.” Oveissi v. Islamic Republic of Iran, 879 F. Supp.

2d 44, 58 (D.D.C. 2012) (citing Pugh v. Socialist People’s Libyan Arab Jamahiriya, 530 F. Supp.

2d 216, 263 (D.D.C. 2008)). In the context of FSIA, judges in this district have recently

“concluded that prejudgment interest [is] appropriate on both ‘past economic loss’ and on the ‘non-

economic pain and suffering and solatium damages suffered by the victims’ estates and families.’”

Force v. Islamic Republic of Iran, No. 16-cv-1468, 2022 WL 2965635, at *12 (D.D.C. July 27,

2022) (quoting Fritz, 324 F. Supp. 3d at 64); see also Cabrera v. Islamic Republic of Iran, No. 18-

cv-2065, 2022 WL 2817730, at *55 (D.D.C. July 19, 2022) (awarding prejudgment interest to

compensatory damages).

       The Court will calculate that interest using the average annual prime rate in each year from

the date of the attack in accordance with the following procedure:

               To calculate the multiplier, the Court multiplied $1.00 by the prime
               rate in 1983 (10.79%); discounted that interest by the percentage of
               the year left from April 18, 1983, to December 31, 1983 (70.4%);
               and then added that amount to $1.00—yielding $1.07596. Then, the
               Court took that amount and multiplied it by the prime rate in 1984
               (12.04%) and added that amount to $1.07596, yielding $1.205506.
               The Court continued this iterative process through June 10, 2020,
               resulting in a total multiplier of 10.62015. For 2020, the Court
               estimated the rate to be 4.05167%—the average for the past six
               years—and again discounted the interest by the percentage of the
               year that has elapsed to date (44.2623%).

Ewan v. Islamic Republic of Iran, 466 F. Supp. 3d 236,250 n.l3 (D.D.C. 2020) (internal citation

omitted); see also Opati v. Republic of Sudan, 60 F. Supp. 3d 68, 83 n.10 (D.D.C. 2014); Fritz,


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324 F. Supp. 3d at 64 n.2. Pre-judgment interest shall not apply to the economic damages awarded

to SPC Neiberger or SPC Reeves given that the expert reports already include estimates on present

value. See Mot. for Default J. at 144. Exhibit A details the pre-judgement interest payment

amounts assuming a judgment date of September 30, 2022. See Ex. A.

                       Punitive

       Finally, all plaintiffs seek punitive damages. 12 See Mot. for Default J. at 120. In

determining the amount of punitive damages, courts consider the following four factors: “(1) the

character of the defendants’ act, (2) the nature and extent of harm to the plaintiffs that the

defendants caused or intended to cause, (3) the need for deterrence, and (4) the wealth of the

defendants.” Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d 15, 30 (D.D.C. 2008) (citing

Flatow, 999 F. Supp. at 32). In sum, punitive damages are warranted where “defendants supported,

protected, harbored, aided, abetted, enabled, sponsored, conspired with, and subsidized a known

terrorist organization whose modus operandi included the targeting, brutalization, and murder of

American citizens and others.” Baker v. Socialist People’s Libyan Arab Jamahirya, 775 F. Supp.

2d 48, 83 (D.D.C. 2011). As to the first two factors, the Court has already concluded that Iran

“supported, protected, harbored, aided, abetted, enabled, sponsored, conspired with, and

subsidized” JAM and AQI—“known terrorist organization[s]”—in the form of weapons, training,

safe haven, planning, and financing to JAM fighters. Braun, 228 F. Supp. 3d at 86; see supra.

These actions resulted in harm to innocent people in a nature that is “the most heinous.” Valore,

700 F. Supp. 2d at 87–88. As to the third factor, given Iran’s “longstanding pattern and policy”

supporting terrorist organizations that aim to harm Americans, “the need for deterrence [is] clear.”




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   Punitive damages are available under the FSIA, even for attacks that preceded the
2008 amendment to the FSIA providing for punitive damages. See Opati, 140 S. Ct. at 1608.


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Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d 145, 166 (D.D.C. 2017). Finally, “Iran is a

sovereign and has substantial wealth.” Bluth v. Islamic Republic of Iran, 203 F. Supp. 3d 1, 25

(D.D.C. 2016). The Court is thus persuaded that Plaintiffs are entitled to punitive damages. See,

e.g., Selig, 573 F. Supp. 3d at 75.

   Several approaches have been articulated to calculate the amount of punitive damages:

   -    an amount equal to compensatory damages, see, e.g., Moradi, 77 F. Supp. 3d at 73; Selig,

        573 F. Supp. 3d at 75;

   -    a multiple of the amount of compensatory damages, see, e.g., Gill, 249 F. Supp. 3d at 105;

   -    a multiple of the amount of the foreign state’s annual funding of terrorism, see, e.g., Braun,

        228 F. Supp. 3d at 87; Valore, 700 F. Supp. 2d at 89; and

   -    a fixed amount per affected family, see, e.g., Gates, 580 F. Supp. 2d at 75; Colvin v. Syrian

        Arab Republic, 363 F. Supp. 3d 141, 163–64 (D.D.C. 2019).

In reaching an amount of punitive damages, courts must balance the need to deter “the brutal

actions of defendants in planning, supporting and aiding the execution of [terrorist attacks],”

Rimkus v. Islamic Republic of Iran, 750 F. Supp. 2d 163, 184 (D.D.C. 2010), with the concern that

“[r]ecurrent awards in case after case arising out of the same facts can financially cripple a

defendant, over-punishing the same conduct through repeated awards with little deterrent effect,”

Murphy v. Islamic Republic of Iran, 740 F. Supp. 2d 51,79 (D.D.C. 2010).

        Plaintiffs here base their request for $1.5 billion in punitive damages which is based on

“Iran’s average annual support for terrorism during the relevant period multiplied times five.” See

Mot. for Default J. at 122. Plaintiffs rely primarily on Valore, where the Court multiplied Iran’s

estimated terrorism financing by five based on a “suggestion by [the testifying expert] that Iran

[began in the years prior to 2008] to more actively participate in litigation in the United States and




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elsewhere.” Valore, 700 F. Supp. 2d at 89. Plaintiffs have not made such a suggestion here.

Indeed, courts have since noted the “‘the lack of any evidence that high awards have successfully

deterred’ Iran.” Christie v. Islamic Republic of Iran, No. 19-cv-1289, 2020 WL 3606273, at *21

(D.D.C. July 2, 2020) (quoting Bluth, 203 F. Supp. 3d at 26).

       Plaintiffs assert that the $1.5 billion award can also be reached by awarding $150 million

to each victim’s family. See Mot. for Default J. at 123. However, such award “would result in a

colossal figure, given the number of families involved.” Opati, 60 F. Supp. 3d at 81. Courts have

only awarded such amounts in the most repugnant and premeditated of attacks. See, e.g., Gates,

580 F. Supp. 2d at 74–75 (awarding $150 million in punitive damages against Syria to both

families of two beheaded civilian contractors, the videos of which “glorified cruelty and fanned

the flames of hatred, in a fundamental offense to human dignity”). The circumstances of the

attacks in this case do not similarly warrant a fixed award per family.

       Instead, this Court finds that the most sensible amount of punitive damages here is a sum

equivalent to compensatory damages. See Moradi, 77 F. Supp. 3d at 73. This method “has the

virtue of straightforwardly scaling as additional sets of plaintiffs come forward . . . and is both

‘consistent with the punitive damage awards in analogous cases’ and a forceful deterrent against

Iran’s further support of terrorist organizations.” Sheikh v. Republic of Sudan, 485 F. Supp. 3d

255, 273 (D.D.C. 2020) (quoting Opati, 60 F. Supp. 3d at 82). The punitive award amount shall

incorporate prejudgment interest, such that “the Court can ensure that the punitive-damage

multiplier applies to the entire compensatory loss and that the happenstance of when judgment is

entered does not have a material effect on the ultimate value of the judgment.” Force, 2022 WL

2965635, at *12. Exhibit A attached details this Court’s damages findings.




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III.    CONCLUSION

        For the reasons states above, the Court recommends GRANTING Plaintiffs’ Motion for

Default Judgment as to liability and GRANTING IN PART and DENYING IN PART Plaintiffs’

Motion as to damages in accordance with the findings herein.

IV.     REVIEW BY THE DISTRICT COURT

        Under the provisions of Local Rule 72.3(b) of the United States District Court for the

District of Columbia, any party who objects to the Report and Recommendation must file a written

objection thereto with the Clerk of this Court within fourteen days of the party’s receipt of this

Report and Recommendation. The written objections must specifically identify the portion of the

report and/or recommendation to which objection is made and the basis for such objections. The

parties are further advised that failure to file timely objections to the findings and

recommendations set forth in this report may waive their right of appeal from an order of the

District Court that adopts such findings and recommendation. See Thomas v. Arn, 474 U.S. 140,

144–45 (1985).
                                                                      Zia M. Faruqui
                                                                      2022.09.08
Date: September 8, 2022                                               12:55:58 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE




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Exhibit A
                                                                               Compensatory
                                                             Pain and                  Prejudgment
Plaintiff                           Relative of              Suffering     Solatium      Interest*   Economic   Punitive      Total
Pamela Thrall (sister)              Rod Richardson                           2,500,000     1,636,892             4,136,892   $8,273,785
Kathleen Stephens (mother)          Blake Stephens                           5,000,000     3,036,678             8,036,678 $16,073,356
Trent Stephens (father)             Blake Stephens                           5,000,000     3,036,678             8,036,678 $16,073,356
Summer Stephens (sister)            Blake Stephens                           2,500,000     1,518,339             4,018,339   $8,036,678
Rhett Stephens (brother)            Blake Stephens                           2,500,000     1,518,339             4,018,339   $8,036,678
Brittani Hobson (sister)            Blake Stephens                           2,500,000     1,518,339             4,018,339   $8,036,678
Derek Stephens (brother)            Blake Stephens                           2,500,000     1,518,339             4,018,339   $8,036,678
Chris Neiberger Estate (victim)     Self                                                           0 1,343,726   1,343,726   $2,687,452
Mary Neiberger (mother)             Christopher Neiberger                    5,000,000     2,937,432             7,937,432 $15,874,863
Richard Neiberger (father)          Christopher Neiberger                    5,000,000     2,937,432             7,937,432 $15,874,863
Ami Neiberger (sister)              Christopher Neiberger                    2,500,000     1,468,716             3,968,716   $7,937,432
Robert Neiberger (brother)          Christopher Neiberger                    2,500,000     1,468,716             3,968,716   $7,937,432
Eric Neiberger (brother)            Christopher Neiberger                    2,500,000     1,468,716             3,968,716   $7,937,432
Joshua Reeves Estate (victim)       Self                      1,000,000                      577,121 2,108,553   3,685,674   $7,371,347
Leslie Hardcastle (widow)           Joshua Reeves                            8,000,000     4,616,964            12,616,964 $25,233,929
J.R., a minor (son)                 Joshua Reeves                            5,000,000     2,885,603             7,885,603 $15,771,205
W. Jean Reeves (mother)             Joshua Reeves                            5,000,000     2,885,603             7,885,603 $15,771,205
James Reeves (father)               Joshua Reeves                            5,000,000     2,885,603             7,885,603 $15,771,205
Jared Dillon Reeves (brother)       Joshua Reeves                            2,500,000     1,442,801             3,942,801   $7,885,603
Joni Ariel Reeves Little (sister)   Joshua Reeves                            2,500,000     1,442,801             3,942,801   $7,885,603
Sherri C. Hoilman (sister)          Joshua Reeves                            2,500,000     1,442,801             3,942,801   $7,885,603
Patrick Hanley (victim)             Self                      7,500,000                    4,070,163            11,570,163 $23,140,326
Katherine Hanley (mother)           Patrick Hanley                           4,000,000     2,170,754             6,170,754 $12,341,507
Edward Hanley (father)              Patrick Hanley                           4,000,000     2,170,754             6,170,754 $12,341,507
Cecelia Hanley (sister)             Patrick Hanley                           2,000,000     1,085,377             3,085,377   $6,170,754
Samuel Montalbano                   Self                      1,500,000                      807,774             2,307,774   $4,615,549
Deborah Wilson (mother)             Samuel Montalbano                          750,000       403,887             1,153,887   $2,307,774
Obdulia Moncada (mother)            Raul Moncada                             5,000,000     2,474,973             7,474,973 $14,949,945
Priscila Moncada (daughter)         Raul Moncada                             5,000,000     2,474,973             7,474,973 $14,949,945
Miriam Lopez (sister)               Raul Moncada                             2,500,000     1,237,486             3,737,486   $7,474,973
Alexandra Aguilar (sister)          Raul Moncada                             2,500,000     1,237,486             3,737,486   $7,474,973
Daniela Moncada (sister)            Raul Moncada                             2,500,000     1,237,486             3,737,486   $7,474,973
Matthew Moncada (brother)           Raul Moncada                             2,500,000     1,237,486             3,737,486   $7,474,973
Stephen Evans (victim)              Self                      5,000,000                    2,393,945             7,393,945 $14,787,890
Guy L. Davis (father)               Steven Davis                             5,000,000     2,973,822             7,973,822 $15,947,644
Teresita R. Davis (mother)          Steven Davis                             6,250,000     3,717,277             9,967,277 $19,934,555
E.D. (child)                        Steven Davis                             5,000,000     2,973,822             7,973,822 $15,947,644
Ayla Davis (spouse)                 Steven Davis                             8,000,000     4,758,115            12,758,115 $25,516,230
Chris Davis (brother)               Steven Davis                             2,500,000     1,486,911             3,986,911   $7,973,822
Jessica Farley (daughter-in-law)    Steven Farley                                    0                                   0           $0
Total                                                       $15,000,000   $128,000,000 $81,156,404 $3,452,279 $227,608,683 $455,217,367

*Prejudgment interest assumes a judgment date of 9/30/2022
